                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-402

                                         No. COA20-32

                                      Filed 3 August 2021

     Rowan County, No. 18-CVS-699

     GERALD STEVEN SPRINKE, JR., Plaintiff,

                  v.

     MATTHEW JOHNSON, Defendant.


           Appeal by defendant from order and judgment entered 17 June 2019 and 1

     July 2019 by Judge Anna Mills Wagoner in Rowan County Superior Court. Heard in

     the Court of Appeals 11 May 2021.


           Lisa Costner for plaintiff-appellee.

           Collins Family Law Group, by Rebecca K. Watts, for defendant-appellant.


           GORE, Judge.


¶1         Gerald Steven Sprinkle, Jr., (“plaintiff”) filed suit against Dr. Matthew

     Johnson (“defendant”) for alienation of affection and criminal conversation, alleging

     that defendant engaged in a romantic relationship and sexual acts with his wife Jana

     Sprinkle (“Mrs. Sprinkle”). Following a jury trial, at which defendant was neither

     present nor represented by counsel, judgment was entered awarding plaintiff a total

     of $2,294,000.00 in compensatory and punitive damages from defendant.          Upon
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     review, we conclude that defendant did not have notice of trial and vacate and remand

     the judgment against him.

                        I.   Factual and Procedural Background

¶2         Mrs. Sprinkle worked at defendant’s oral surgery practice in Mooresville,

     North Carolina, for seventeen years as a surgical assistant. Over a period of four

     years during her employment, defendant and Mrs. Sprinkle engaged in a romantic

     and sexual relationship.

¶3         In 2014, defendant initiated sexually explicit conversation with Mrs. Sprinkle

     and touched her bottom at work. As the affair progressed, defendant provided Mrs.

     Sprinkle with Adderall, a cell phone for communicating with him, and the two met at

     hotel rooms and his house on Lake Norman to have sexual intercourse. The affair

     came to a halt when another employee discovered a photograph on defendant’s phone

     of Mrs. Sprinkle participating in a sexual act with him. That photograph was

     eventually seen by Mrs. Sprinkle’s cousin. Mrs. Sprinkle then told her husband,

     plaintiff, about the affair. While plaintiff and Mrs. Sprinkle decided to reconcile, the

     affair resulted in Mrs. Sprinkle’s loss of employment, and plaintiff sought mental

     health treatment and incurred related expenses.

¶4         On 23 March 2018, plaintiff filed suit against defendant for alienation of

     affection and criminal conversation. Plaintiff properly served defendant with the

     complaint at his business address on Medical Park Road in Mooresville. Plaintiff
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     alleged that defendant and Mrs. Sprinkle engaged in sexual intercourse on multiple

     occasions in North Carolina during the marriage, and defendant’s actions interfered

     with a genuine love and affection that existed in the marital relationship between

     them.

¶5           Upon receiving service of the complaint on 3 May 2018, defendant hired an

     attorney and was granted a thirty-day extension to file an answer. Defendant filed

     an answer on 5 July 2018 and also filed motions to dismiss and bifurcate. Those

     filings were later amended and refiled on 24 July 2018.

¶6           The parties and their respective counsel participated in court-ordered

     mediation on 11 January 2019. The filed Report of Mediator in Superior Court Civil

     Action represented that the parties settled the dispute and arrived to an “agreement

     on all issues.” The report stipulated that plaintiff’s attorney would file a notice of

     dismissal no later than 30 June 2019. The mediator notified the trial court that the

     matter had been settled in mediation, but it could not be dismissed before the end of

     June as to allow defendant requisite time to pay the agreed upon amount. The

     mediator’s report did not specify the agreement’s substantive terms. The only

     indication of the agreement reached in mediation is evidenced in a nearly illegible

     handwritten note authored by plaintiff’s attorney. The note’s only decipherable

     writing is its apparent title of “Agreement 1/11/19.” There is no further indication as

     to what the parties agreed to, nor the extent to which those terms were mutually
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     abided by.

¶7         Defendant’s counsel moved to withdraw from representation in the matter on

     22 March 2019, citing defendant’s lack of communication, contempt towards his legal

     advice, and failure to procure payment for legal fees. The motion to withdraw as

     counsel was granted by a court order on 15 April 2019. In a certificate of service

     attached to that motion, counsel certified that he had served defendant with both the

     motion and the notice of hearing regarding the same by mail sent to an address on

     Beaten Path Road in Mooresville. Defendant’s attorney believed this to be the correct

     mailing address.

¶8         On 17 June 2019, the trial court entered a Pre-Trial Order without holding a

     pre-trial conference. The Pre-Trial Order contained stipulations and agreements but

     was not signed by defendant or an attorney representing him. The Order was signed

     by only plaintiff’s attorney and the trial court. The Order states that plaintiff’s

     attorney, after due diligence, was unable to arrange a time with defendant for a pre-

     trial conference.

¶9         The trial was conducted from 24 June to 25 June 2019 before a jury in Rowan

     County Superior Court. Defendant was neither present at trial nor represented by

     counsel. On 25 June 2019, the jury rendered a verdict for plaintiff in the amount of

     $794,000.00 in compensatory damages and $1,500,000.00 in punitive damages, for a

     total award of $2,294,000.00. The trial court entered judgment reflecting the jury
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       verdict on 1 July 2019.

¶ 10         Later, defendant was contacted by a reporter who inquired about the verdict

       against him. Defendant claims that, until that moment, he was unaware the trial

       had been held or that a judgment had been entered. He then hired new counsel who

       obtained the court file, where he first learned that his previous attorney had

       withdrawn. Defendant claims he also learned of the Pre-Trial Order, the trial date,

       and the $2,294,000.00 judgment from the court file.

¶ 11         On 11 July 2019, Defendant’s attorney filed a motion pursuant to Rules 59 and

       60 of the North Carolina Rules of Civil Procedure (hereinafter, “Rule 59/60 motion”),

       requesting a new trial. In the alternative, Defendant requested relief from the Pre-

       Trial Order, the judgment entered, or a new pre-trial conference. Plaintiff filed a

       response to that motion, and a motion for sanctions pursuant to Rule 11 of the North

       Carolina Rules of Civil Procedure.

¶ 12         In an affidavit, defendant stated that although he formerly resided at the

       Beaten Path Road address, he moved from that property around or before November

       2018. He further stated that in December 2018 and January 2019, he informed his

       attorney that he had moved and was living in temporary housing. Additionally, he

       claims he never received mail at the Beaten Path Road address, but instead has used

       his Medical Park Road business address for receiving mail, and the property tax card

       for the Beaten Path Road address lists his business address as the appropriate
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       mailing address.       Defendant also stated that his former attorney always

       communicated with him by phone or text message, and he never received notice of

       his counsel’s motion to withdraw, the Pre-Trial Order, or notice of trial by those

       means.    Additionally, defendant’s ex-wife, Ms. Regina Johnson, corroborated by

       affidavit defendant’s timeline regarding his place of residence.

¶ 13          On 31 July 2019, Defendant withdrew his Rule 59/60 motion. In response,

       plaintiff dismissed his Rule 11 motion, which indicated mail service on defendant at

       three addresses: (1) Beaten Path Road; (2) Fern Hill Road; and (3) the Medical Park

       Road business address. On the same day, defendant’s counsel filed a Motion to

       Withdraw, which was granted. Defendant filed a pro se Notice of Appeal and listed

       his address as the Medical Park Road business address.

                                          II.      Discussion

¶ 14          On appeal, defendant argues that the trial court abused its discretion in

       entering a Pre-Trial Order without holding a pre-trial conference. Specifically, he

       contends that the trial court exceeded its authority by entering stipulations and

       agreements of the parties when both parties did not actually stipulate or agree, and

       that Order effectively dispensed with our Rules of Evidence. Additionally, he argues

       that he was deprived his right to due process when he was not provided with notice

       of the date, time, or place of the trial.
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¶ 15         As a preliminary matter, defendant failed to preserve his issues on appeal, and

       any issue presented regarding lack of notice for trial, or the Pre-Trial Order, are not

       properly before this Court.    Rule 10 of the North Carolina Rules of Appellate

       Procedure provides in pertinent part:

                    In order to preserve an issue for appellate review, a party
                    must have presented to the trial court a timely request,
                    objection, or motion, stating the specific grounds for the
                    ruling the party desired the court to make if the specific
                    grounds were not apparent from the context. It is also
                    necessary for the complaining party to obtain a ruling upon
                    the party’s request, objection, or motion.

       N.C.R. App. P. 10(a)(1). “[I]t is well-established that the North Carolina Rules of

       Appellate Procedure are mandatory and failure to follow these rules will subject an

       appeal to dismissal.” Stann v. Levine, 180 N.C. App. 1, 3, 636 S.E.2d 214, 215 (2006)

       (purgandum). Given that defendant was absent from trial and not represented by

       counsel, he did not have an opportunity to present a timely request or objection in

       open court. Furthermore, defendant voluntarily withdrew his Rule 59/60 motion and

       supporting affidavits, without a hearing on the merits, before the trial court could

       render a decision upon his motion. “It is well settled that an error, even one of

       constitutional magnitude, that defendant does not bring to the trial court’s attention

       is waived and will not be considered on appeal.” State v. Bursell, 372 N.C. 196, 199,

       827 S.E.2d 302, 305 (2019) (quotation marks and citation omitted).
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¶ 16         However, notice is a fundamental requirement of due process. In accordance

       with Rule 2 of the Appellate Rules of Procedure, this Court may “suspend or vary the

       requirements or provisions of any of these rules[,]” sua sponte or upon the motion of

       a party, “[t]o prevent manifest injustice to a party, or to expedite decision in the public

       interest” except where the rules otherwise expressly prohibit. N.C.R. App. P. 2.

       “[T]his residual power . . . may be drawn upon where the justice of doing so or the

       injustice of failing to do so appears manifest to the Court.” Blumenthal v. Lynch, 315

       N.C. 571, 578, 340 S.E.2d 358, 362 (1986) (citation omitted). “Rule 2 must be applied

       cautiously, and it may only be invoked in exceptional circumstances. A court should

       consider whether invoking Rule 2 is appropriate in light of the specific circumstances

       of individual cases and parties, such as whether substantial rights of an appellant

       are affected.” Bursell, 372 N.C. at 200, 827 S.E.2d at 305-06 (quotation marks and

       citations omitted).

¶ 17         “Notice and an opportunity to be heard prior to depriving a person of his

       property are essential elements of due process of law which is guaranteed by the

       Fourteenth Amendment of the United States Constitution and Article 1, section 17,

       of the North Carolina Constitution.” Swanson v. Herschel, 174 N.C. App. 803, 805,

       622 S.E.2d 159, 160-61 (2005) (quotation marks and citation omitted). “This right to

       be heard has little reality or worth unless one is informed that the matter is pending
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       and can choose for himself whether to appear or default, acquiesce or contest.”

       Mullane v. Cent. Hanover Bank &amp; Tr. Co., 339 U.S. 306, 314, 94 L. Ed. 865, 873 (1950).

                    It is a principle, never to be lost sight of, that no person
                    should be deprived of his property or rights, without notice
                    and an opportunity of defending them. This right is
                    guaranteed by the constitution. Hence it is, that no Court
                    will give judgment against any person, unless such person
                    have an opportunity of sh[o]wing cause against it. A
                    judgment entered up otherwise would be a mere nullity.

       Den ex dem. Hamilton v. Adams, 6 N.C. 161, 162 (1812).               Considering the

       circumstances of this case, and the manifest necessity of due process, this Court

       invokes Rule 2 as to permit appellate review. “Whether a party has adequate notice

       is a question of law, which we review de novo.” Id. at 805, 622 S.E.2d at 160 (citation

       omitted).

¶ 18         In Laroque v. Laroque, this Court examined notice requirements as governed

       by Rules of Civil Procedure and the General Rules of Practice. 46 N.C. App. 578, 580,

       265 S.E.2d 444, 445 (1980). This Court held that the defendant did not receive the

       requisite notice of trial when nothing on the record indicated that a trial calendar

       request or certificate of readiness was mailed to him. Id. at 581-82, 265 S.E.2d at

       446-47. In reaching its decision, this Court reasoned that:

                    Rule 2 of the Rules of Practice, by requiring notice of the
                    calendaring of a case, secures to a party the opportunity to
                    prepare his case for trial and to be present for trial or to
                    seek a continuance. Although the rule specifies that the
                    calendar be sent to each attorney of record and that the
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                    copy of the certificate or readiness be sent to opposing
                    counsel, it is implicit in the rule that where a party is not
                    represented by counsel he is entitled to the same notice. We
                    note that it has long been the practice in this State that
                    when a party to an action does not have counsel, a copy of
                    each calendar on which his action appears calendared for
                    trial is mailed to him at the last address available to the
                    Clerk.

       Id. at 581, 265 S.E.2d at 446 (1980) (citation omitted). “[R]ule [2] contemplates that

       systematic notice of the calendaring of a case be given to a party at each stage of the

       calendaring process.” Id. at 580, 265 S.E.2d at 446.

¶ 19         In Brown v. Ellis, this Court also addressed notice requirements in an action

       involving alienation of affection and criminal conversation claims. 206 N.C. App. 93,

       94, 696 S.E.2d 813, 816 (2010). In Brown, the “defendant’s attorney’s motion to

       withdraw, the order allowing the motion to withdraw, the order setting the trial date,

       and the trial calendar mailed from the trial court were all mailed to the incorrect

       address.” Id. at 102-03, 696 S.E.2d at 820. Further, the record was silent as to

       whether “defendant received any notices or documents regarding the case after the

       trial court denied his motion to dismiss[.]” Id. at 103, 696 S.E.2d at 820. The

       defendant neither appeared at trial, nor was he represented at trial, and judgment

       was entered against him in the amount of $600,000.00. Id. at 94, 696 S.E.2d at 815.

¶ 20         This Court held that the defendant was entitled to a new trial because lack of

       adequate notice did not comport with the requirements of due process. Id. at 109,
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       696 S.E.2d at 824.    This Court contrasted its decision in Laroque with that in

       Dalgewicz v. Dalgewicz, 167 N.C. App. 412, 606 S.E.2d 164 (2004), where the

       defendant received notice that his case was calendared for trial but failed to appear

       because he was “neglectful and inattentive to his case.” 167 N.C. App. 412, 418, 606

       S.E.2d 164, 168 (2004). In Brown, this Court concluded that:

                    neither the scheduling order nor the court calendar was
                    mailed to the service address, through no fault of
                    defendant. Defendant had no way of knowing and no
                    reason to know that both his original counsel and the trial
                    court were sending documents to him at an incorrect
                    address until after he was notified of the trial three days
                    before it was to begin and he was able to contact an
                    attorney in North Carolina.

       Brown, 206 N.C. App. at 108, 696 S.E.2d at 823.

¶ 21         In the case sub judice, counsel for defendant listed the address on Beaten Path

       Road in Mooresville as the address he served defendant with notice of the motion to

       withdraw and hearing on that motion. However, nothing in the record indicates that

       defendant received that notice. Plaintiff argues that it was reasonable to rely on the

       address listed on the pleadings filed by defendant’s attorneys, and that defendant

       was under a continuing duty to keep opposing counsel informed of his correct address.

       However, assuming arguendo, that service at the Beaten Path Road address was

       proper, the record simply does not reflect that defendant was served with the order
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       allowing defense counsel to withdraw, the Pre-Trial Order, calendar notice, or notice

       of trial at any address.

¶ 22         The facts before us do not indicate that defendant was negligent or inattentive

       to his case. This is a case where defendant never received proper notice of trial. This

       court concludes that a failure to provide proper notice violated defendant’s due

       process rights and entitles him to a new trial. Accordingly, we need not address his

       remaining arguments.

             VACATED AND REMANDED.

             Judges ARROWOOD and COLLINS concur.
